                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE,                       :
                                   :                                         CIVIL ACTION
        Plaintiff,                 :
     v.                            :
                                   :
UNIVERSITY OF PENNSYLVANIA et al., :
                                   :                                         NO. 2:22-cv-2942-MRP
        Defendants.                :


                                                 ORDER

        AND NOW, this 29th day of October, 2024, upon consideration of the Defendants Al Dia

News and Brittany Valentine’s Motion to Dismiss (ECF No. 136), and the response thereto, it is

hereby ORDERED that the Motion is GRANTED and the claims against these Defendants are

DISMISSED with prejudice. 1



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  Dr. Monge brings defamation by implication and civil aiding and abetting claims against Defendants Al
Dia News and Brittany Valentine (the “Al Dia News Defendants”), alleging they “falsely accused Drs.
Monge and Mann of professional misconduct, stating ‘[b]ombshell reports revealed the universities shuttled
the remains back and forth, and used them in educational settings without ever contacting next of kin.’”
ECF No. 133 at ¶ 142(d). Dr. Monge asserts that these statements imply she engaged in racially motivated
professional misconduct. The Al Dia News Defendants respond that these statements are not capable of a
defamatory meaning because they are literally true and have no defamatory implication.

The law governing defamation by implication and civil aiding and abetting claims is fully set forth in the
Court’s October 28, 2024 opinion regarding the Hyperallergic Media Defendants. Here, it is literally true
that Dr. Monge transported the bone fragment remains from the University of Pennsylvania to Princeton
University, that she used the remains in her Coursera course, that she did not contact the next of kin of the
remains, and that she did not obtain consent to use the bone fragment remains. See id. at ¶¶ 99, 102-05, 113.
Moreover, the implication that Dr. Monge engaged in racially motivated professional misconduct is not
“warranted, justified, and supported by the publication.” See ToDay’s Housing v. Times Shamrock
Commc’ns, Inc., 21 A.3d 1209, 1215 (Pa. 2011). Only through an “unfair and forced construction” of the
article could this Court find such an implication. See Bogash v. Elkins, 176 A.2d 677, 679 (Pa. 1962). The
Court therefore finds that the challenged statements are not capable of a defamatory meaning and dismisses
the defamation by implication claims with prejudice.

As for the civil aiding and abetting claims, the Second Amended Complaint does not plausibly allege that
the Al Dia News Defendants were working with or seeking to aid another in publishing the article. Rather,
they acted on their own accord. As such, these claims are also dismissed with prejudice.
BY THE COURT:




Hon. Mia R. Perez
